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                             Exhibit
                                       2
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Case 1:20-cv-20520-RNS Document 1-2 Entered on FLSD Docket 02/05/2020 Page 4 of 12
Residential Full Report         3475 Harbor Road N, Jupiter, FL 33469                       List Price: $524,900
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                                          MLS#: RX-10460239           Active
                                                                             Docket 02/05/2020       Page 5 of 12
                                                                                      Type: Single Family Detached
                                                            Orig LP: $534,500             Range Price:         List Price/SqFt: 520.73
                                                            Area: 5060                    Geo Area: PB32       County: Palm Beach
                                                            Legal Desc: JUPITER HEIGHTS LTS 10 & 11 BLK 1
                                                            Subdivision: JUPITER HEIGHTS
                                                            Development Name:
                                                            Model              Parcel ID:                 00434030020010100 Front Exp:                               S
                                                            Name:              Waterfrontage:                                   Garage Spaces:                       2
                                                            Waterfront: No     Multiple Ofrs Acptd:                             Carport Spaces:
                                                                        100.0 Taxes:                               7,864.07               Private Pool:              No
                                                            Lot         ft x 0.0
                                                            Dimensions: ft       Tax Year:                         2017                   REO:                       No
                                                            Lot SqFt:   11,960 Special Assessment:                 No                     Short Sale Addendum: No
                                                                           No      Dock:                                                  Short Sale:                No
                                                            HOPA:          Hopa    Membership Fee Required:        No                     Owner/Agent:               No
                                                            Zoning:        RS

Virtual Tour:
Living Room                 12 X 14      Master Bedroom                      12 X 14 LivSqFt: 1,008                                  Bedrooms: 2
Kitchen                     8 X 10       Bedroom 2                           10 X 12 SqFt - Total: 2,203                             Baths - Full: 2
Dining Room                 10 X 12                                                        SqFt Source: Appraisal                    Baths - Half: 0
                                                                                           Guest Hse:                                Baths - Total: 2
                                                                                           Yr Built: 1977                            Pets Allowed: Yes
                                                                                           Builder Name:
                                                                                           Built Desc: Resale
HOA/POA/COA (Monthly):                              Bldg #:                                      Land Lease:                      Mobile Home Size:
Governing Bodies:      None                         Total Floors/Stories:  1                     Recreation Lease:                Decal #:
Homeowners Assoc:      None                         Total Units in Bldg:                         Min Days to Lease:               Serial #:
Lease Times p/Year:                                 Ttl Units in Complex:                                                         Brand Name:
Application Fee:                                    Unit Floor #:                                                                 Total Assessed Value:
                                                    Membership Fee Amount:
 Auction: No
 Directions: Keep right to continue on Lake Victoria Gardens Ave Turn right onto FL-811 N/FL A1AAlt N (signs for 811) Turn left onto US-1 N Turn right onto Harbor Rd
 N
 Showing Instructions: Call Owner; See Brokers Remarks
 LO: 279508652                BAR Invest Realty LLC                   844-239-2663
 LM: 277037481                Herve Fabrice Barbera                   +1 844-239-2663                                      contact@beycome.com
 Com/BuyerAgt: 2.5%           Comm/Non-Rep: $1                        Trans Brk: 2.5%                                      Bonus:                    LD: 08/30/2018
 Var/Dual Rate: No            List Type: Ex Brk w/Limit Svc           List Off Agency: Non Representative
 Owner Name: COOK KENNETH P 561-876-6564
 Broker Only Remarks: For showings or for more information contact Kenneth 561-876-6564
 Any Broker Advertise: No
Design:                                                                           View:
Construction: Block; Frame/Stucco                                                 Waterfront Details: None
Unit Desc:                                                                        Cooling: Ceiling Fan; Central
Flooring: Tile                                                                    Heating: Electric
Furnished: Unfurnished                                                            Security: Fence
Dining Area: Eat-In Kitchen                                                       Utilities: Electric; Public Water; Septic
Master Bedroom/Bath: Combo Tub/Shower                                             Special Info:
Window Treatments: Thermal                                                        Terms Considered: Cash; Conventional; FHA; VA
Lot Description: 1/4 to 1/2 Acre                                                  Roof: Comp Shingle
Storm Protection:                                                                 Taxes: City/County; Homestead
Restrict: None                                                                    Equestrian Features:
Rooms: Workshop
Equip/Appl:Dishwasher; Disposal; Microwave; Range - Electric; Refrigerator; Smoke Detector
SubdivInfo:None
Interior:French Door; W/D Hookup; Walk-in Closet
Exterior:Auto Sprinkler; Covered Patio; Custom Lighting
Maintenance Fee Incl:
Original List Price: $534,500
Days On Market: 47                                                                    Cumulative DOM: 47
Sold Price:                                         Sold Price Sqft:                                      Under Contract Date:
Selling Office:                                     Terms of Sale:                                        Sold Date:
Selling Agent:
Public Remarks:Location, Location,Location!!! East of US1 - 4 houses from Intracoastal. Dockage. Remodeled, large 2 bedroom, 2 bathroom home, and large stand
alone 900 sq ft garage sitting on 2 lots east of US1, (currently leased for storage), can hold up to 4 cars or make a great hobby/work shop. Plenty of room for boat/
trailer parking. Day dockage at end of street, Home has living room and 2 bonus rooms, impact windows, central ac, ceiling fans, updated kitchen, washer & dryer
hookups, tile throughout, remodeled bathrooms, fenced backyard, Great location to build much larger home in future using both lots. 536813
Information is deemed to be reliable, but is not guaranteed. © 2018 MLS and FBS. Prepared by Mateusz Rymarski on Tuesday, October 16, 2018 5:38 PM. The information on
this sheet has been made available by the MLS and may not be the listing of the provider.
         Case
History for MLS1:20-cv-20520-RNS
                # RX-10460239       Document 1-2 Entered
                               3475 Harbor Road N, Jupiter, FL 33469
                                                                       on FLSD Docket 02/05/2020 Page 6 of 12$524,900


+ MLS #          Status                                     Price       % Change              Date    DOM      CDOM Address
                                                                                                                       3475
 - RX-10460239 Active                                    $524,900           17.3%       08/30/2018       47         47 Harbor
                                                                                                                       Road N
         -       Price Change                            $524,900           -1.4%       10/13/2018        3
                 Change by: Herve Fabrice Barbera

                          Change at 4:26 PM Eastern: changed List Price
                                 Old Value: 532500.00
                                 New Value: 524900.00

         -       Text, etc.                              $532,500                       10/13/2018        3
                 Change by: Herve Fabrice Barbera

                          Change at 12:42 PM Eastern: changed Public Remarks
                                 Old Value: Cute Single family home sitting on 2 lots east of US1, with stand alone
                                 large garage (currently leased for storage), day dockage at end of street, 2 bedroom,
                                 2 bathroom, living room, bonus room, central ac, ceiling fans, updated kitchen,
                                 washer & dryer hookups, fenced backyard, 4 houses from intracoastal, garage is
                                 deep and could hold 4 cars or make a great hobby/work shop. Plenty of room for
                                 boat/trailer parking. Great location to build much larger home in future using both
                                 lots. Recent complete remodel, impact windows, tile throughout, updated bathrooms.
                                 ID 536813
                                 New Value: Location, Location,Location!!!

         -       Price Change                            $532,500           -0.4%       10/02/2018       14
                 Change by: Herve Fabrice Barbera

                          Change at 3:47 PM Eastern: changed List Price
                                 Old Value: 534500.00
                                 New Value: 532500.00

         -       Photos                                  $534,500                       08/31/2018       46
                 Change by: Herve Fabrice Barbera

                          Change at 5:19 PM Eastern: Added photo "15"
                          Change at 5:19 PM Eastern: Added photo "14"
                          Change at 5:19 PM Eastern: Added photo "13"
                          Change at 5:19 PM Eastern: Removed photo
                          Change at 5:19 PM Eastern: Added photo "12"
                          Change at 5:19 PM Eastern: Added photo "11"
                          Change at 5:19 PM Eastern: Added photo "10"
                          Change at 5:19 PM Eastern: Added photo "9"
                          Change at 5:19 PM Eastern: Added photo "8"
                          Change at 5:19 PM Eastern: Added photo "7"
                          Change at 5:19 PM Eastern: Added photo "6"
                          Change at 5:19 PM Eastern: Added photo "5"
                          Change at 5:19 PM Eastern: Added photo "4"
                          Change at 5:19 PM Eastern: Added photo "3"
                          Change at 5:19 PM Eastern: Added photo "2"
                          Change at 5:19 PM Eastern: Added photo "1"

         -       New                                     $534,500                       08/30/2018       47
                 Change by: Herve Fabrice Barbera

                          Change at 5:55 PM Eastern: Added new listing
      Case 1:20-cv-20520-RNS Document 1-2 Entered on FLSD Docket 02/05/2020 Page 7 of 123475
- RX-10309595 Cancelled                             $447,500                    07/26/2017   159   159 Harbor
                                                                                                       Road N
       -      Status                                $447,500                    07/26/2017     0
              Change by: Jo Ann Jacobson

                       Change at 11:33 AM Eastern: changed Status
                              Old Value: Active
                              New Value: Cancelled

       -      HOA/POA/COA (Monthly)                 $447,500                    07/26/2017     0
              Change by: Jo Ann Jacobson

                       Change at 11:33 AM Eastern: changed Cancel Date
                              Old Value:
                              New Value: 7/26/2017
                       Change at 11:33 AM Eastern: changed HOA/POA/COA (Monthly)
                              Old Value:
                              New Value: 0.00

       -      Price Change                          $447,500            -7.7%   06/08/2017    48
              Change by: Jo Ann Jacobson

                       Change at 4:29 PM Eastern: changed List Price
                              Old Value: 485000.00
                              New Value: 447500.00

       -      Text, etc.                            $485,000                    02/20/2017   156
              Change by: Jo Ann Jacobson

                       Change at 4:06 PM Eastern: changed REO
                              Old Value: Yes
                              New Value: No

       -      Text, etc.                            $485,000                    02/19/2017   157
              Change by: Jo Ann Jacobson

                       Change at 12:34 PM Eastern: changed Year Built
                              Old Value: 1977.00
                              New Value: 1973.00

       -      New                                   $485,000                    02/18/2017   158
              Change by: Jo Ann Jacobson

                       Change at 9:58 PM Eastern: Added photo "IMG_4385"
                       Change at 9:58 PM Eastern: Added photo "IMG_4385"
                       Change at 9:49 PM Eastern: Added photo "IMG_4384"
                       Change at 9:49 PM Eastern: Added photo "IMG_4384"
                       Change at 9:46 PM Eastern: Added photo "IMG_4374"
                       Change at 9:45 PM Eastern: Added photo "IMG_4373"
                       Change at 9:44 PM Eastern: Added photo "IMG_4374"
                       Change at 9:44 PM Eastern: Added photo "IMG_4373"
                       Change at 4:42 PM Eastern: changed Public Remarks
                              Old Value: UT CAN BE SEPARATED FOR INVEST
                              New Value: UT CAN BE DIVIDED BACK TO 2 SE
                       Change at 4:42 PM Eastern: changed Baths - Half
                              Old Value: 2.00
                              New Value: 0.00
                       Change at 4:42 PM Eastern: changed Lot Dimensions
                              Old Value: 5980 SQ FT
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                    New Value: 100' X 120'
             Change at 4:14 PM Eastern: Added new listing
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                                      1                                                 2




                                      3                                                 4




                                      5                                                 6




                                                                       copyright management information removed
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                                         7                                          8




                                         9                                          10




                                        11                                          12
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                                        13                                          14




                                        15
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